           Case 4:13-cr-00344-JLH      Document 90        Filed 05/12/15      Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                  No. 4:13CR00344-01 JLH

MARK LYLE DODSON                                                                    DEFENDANT

                                             ORDER

       Defendant Mark Lyle Dodson appeared before the Court on this date for a change of plea

hearing. Pursuant to a Federal Rule of Criminal Procedure Rule 11(c)(1)(C) plea agreement, he

entered a guilty plea to Counts 4s and 5s of the Superseding Indictment. The Court deferred

acceptance of the guilty plea pending completion of a presentence report.

       The May 18, 2015 trial date is removed from the trial docket. In the event the Court declines

to accept the guilty plea after reviewing the presentence report, this matter will be placed back on

the Court’s trial docket. Defendant agreed to waive any Speedy Trial time on the record at today’s

hearing.

       Any delay occasioned by this Rule 11(c)(1)(C) plea agreement shall be be excludable

pursuant to 18 U.S.C. § 3161(h)(1)(G).

       IT IS SO ORDERED this 12th day of May, 2015.



                                                     _________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
